Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 1 of 11 PagelD #: 33

1922-CC12285

IN THE CIRCUIT COURT OF SAINT LOUIS CITY
STATE OF MISSOURI

CAROLINE VEMULAPALLI,

Plaintiff,
Case No.
Vv.
Division:
TARGET CORPORATION

Defendant.

Serve: Target Corporation
C/o CT Corporation System
120 South Central Ave
Clayton, MO 63105

Jury Trial Demanded

PETITION FOR DAMAGES

COMES NOW, Plaintiff, CAROLINE VEMULAPALLI by and through her attorney,
NDONWI LAW LLC, and for her Petition for Damages against Defendant, TARGET
CORPORATION states and alleges the following in the alternative pursuant to Missouri
Supreme Court Rule 55.10 to-wit:

INTRODUCTION AND GENERAL ALLEGATIONS

This is an action to seek redress for injuries, damages and losses suffered by Plaintiff as the
result of a dangerous condition created by Defendant when defendant placed a heavy
advertisement on a merchandise box without securing it, when said sign was designed to be

secured when in use.

Wd 80:21 - 6102 ‘GL Jequiessq - sINO7 1g Jo Allg - pally Aypeoiuoyoe|3
Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 2 of 11 PagelD #: 34

JURISDICTION AND VENUE
Jurisdiction and venue are proper in the Circuit Court of the City of Saint Louis. The acts and
omissions of Defendant and Defendant’s employees and officers or agents acting within the
course and scope of their agency complained of in this action occurred in this State and County
and by virtue of their ownership of property in this State and County.
PARTIES AND GENERAL ALLEGATIONS

A Plaintiff, Caroline Vemulapalli (“Caroline”) is a resident of City of Saint Louis,
County of Saint Louis City, Missouri.

Z. Defendant, Target Corporation (“Target”) is a foreign corporation which conducts
regular business at 4255 Hampton Ave, St. Louis, MO 63109 (“Hampton Target”).

FACTS COMMON TO ALL COUNTS

3. On October 08, 2019, at approximately 12:00 PM Caroline went to Hampton
Target as an invitee.

4, While Caroline was in the store, she approached a merchandise box placed on the
floor of a passage way between two display shelves.

5. On the merchandise box was placed a heavy advertisement sign which
unbeknownst to Caroline was not secured or tethered to anything.

6. Said sign was indeed designed to be secured or tethered upon display, and not for
placement on merchandise boxes.

7. As Caroline examined the box contents, the sign slid off the box and crushed her

foot.

- BLOZ ‘6 Jaquisoag - sino] ‘1S jo Allg - pali4 Ajpeatuosoeyy

Wd 80:21
Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 3 of 11 PagelD #: 35

COUNT I - PREMISES LIABILITY

8. Caroline restates the allegations contained in paragraphs 1 through 7 above as if
fully set forth herein.
9, At all times relevant, Target owned, possessed, maintained and controlled or

otherwise exercised control over Hampton Target, where the incident alleged herein occurred.

10.

At all times relevant, Target owed certain duties to the general public, its invitees,

and in particular to Caroline, to keep and maintain its premises in a reasonably safe condition,

and to avoid and eliminate the existence of known or reasonably anticipated hazards.

1.

Target breached these duties, and in effect created a hazard in the following ways:

a)
b)

c)

d)

Negligent placement of merchandise on walk ways between display shelves;
Negligent placement of signs on merchandise;

Negligent failure to inspect the effective placement of merchandise in the
walk ways of the premises;

Negligent failure to ensure that advertisement signs were at all times posted
correctly to make sure that they do not pose as a hazard or cause injuries to
invitees shopping at the premises;

Negligent failure to warn or otherwise caution invitees as to the defective
condition by failing to place warning signs that the advertisement sign on the
box was not being used in the manner it was designed to be used, or otherwise
was not secured upon display;

Negligent failure to respond to and/or act to eliminate the defective and
hazardous condition, having active and/or constructive knowledge of the

defective and/or hazardous condition;

- 6L07 ‘6} sequiesag - sINo7 ‘1g 10 AND - palig Apeouonsay

Wd 80:21
Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 4 of 11 PagelD #: 36

g) Negligent failure to supervise the placement of items in the passage ways of
the premises to ensure that its condition was safe for use by its invitees and
the public;

h) Negligent failure to regularly inspect the premises for dangerous and
hazardous conditions, including but not limited to placement of merchandise
and loose signs thereupon on passage ways in the premises;

i) Negligent failure to properly train, supervise, manage, and/or instruct its
employees, agents and representatives to inspect and correct defective
conditions on the premises;

j) Negligent failure to create, implement/or enforce policies and procedures to
ensure the proper and safe use of advertisement signs;

k) Creating a dangerous and hazardous condition on the premises or contributing
to the creation of a dangerous and hazardous condition on the premises; and

1) Other breaches and acts of negligence learned through the course of
discovery.

12. The defective condition on Target’s premises was not known to Caroline, and did
not constitute an open and obvious condition because Caroline could not see upon casual
inspection that the sign was not secured to the box as she examined the box.

13. Asa direct and proximate result of Target’s breach of the above duties, Caroline
suffered painful severe, permanent physical and emotional injuries, including but not limited to:

a, Injuries to her foot, toe and nail;
b. Physical pain and suffering;

c. Mental anguish;

Nd 80:21 - 6LOZ ‘GL sequiesag - siNo7 ‘Ig Jo Aug - pal Ayeowuonca|y
Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 5 of 11 PagelD #: 37

d. Fright and shock;

e. Denial of social pleasure and enjoyment;

f. Embarrassment, humiliation and/or mortification;

g. Past and future medical treatment expenses and/or wage loss;
h. Disability relating to the above injuries; and

i. All other damages learned through the course of discovery.

14. As a direct and proximate result of Target’s aforementioned negligence, Caroline
has been required to undergo reasonable and necessary medical and therapeutic care and is likely
to undergo additional care and treatment in the future.

WHEREFORE, Caroline Vemulapalli respectfully requests judgment and damages in her
favor in count I of her petition against Target Corporation in an amount in excess of $75,000,
exclusive of costs, interest and attorney fees so wrongfully incurred.

COUNT II - NEGLIGENCE/GROSS NEGLIGENCE

15. Caroline restates the allegations contained in paragraphs | through 14 above as if
fully set forth herein.

16.  Atall times relevant, Target owned, possessed, maintained and controlled or
otherwise exercised control over Hampton Target, where the incident alleged herein occurred.

17. At all times relevant, Target owed certain duties to the general public, its invitees,
and in particular to Caroline, to keep and maintain its premises in a reasonably safe condition,
and to avoid and eliminate the existence of known or reasonably anticipated hazards.

18. Target breached these duties, and in effect created a hazard in the following ways:

a) Negligent placement of merchandise on walk ways between display shelves;

b) Negligent placement of signs on merchandise;

- 6102 6) Jequiasag - sino7 “15 J0 Ang - paylg Aypeoiuonsesy

Wd 80-21
Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 6 of 11 PagelD #: 38

Cc)

d)

e)

8)

h)

i)

Negligent failure to inspect the effective placement of merchandise in the
walk ways of the premises;

Negligent failure to ensure that advertisement signs were at all times posted
correctly to make sure that they do not pose as a hazard or cause injuries to
invitees shopping at the premises;

Negligent failure to warn or otherwise caution invitees as to the defective
condition by failing to place warning signs that the advertisement sign on the
box was not being used in the manner it was designed to be used, or otherwise
was not secured upon display;

Negligent failure to respond to and/or act to eliminate the defective and
hazardous condition, having active and/or constructive knowledge of the
defective and/or hazardous condition;

Negligent failure to supervise the placement of items in the passage ways of
the premises to ensure that its condition was safe for use by its invitees and
the public;

Negligent failure to regularly inspect the premises for dangerous and
hazardous conditions, including but not limited to placement of merchandise
and loose signs thereupon on passage ways in the premises;

Negligent failure to properly train, supervise, manage, and/or instruct its
employees, agents and representatives to inspect and correct defective
conditions on the premises

Negligent failure to create, implement/or enforce policies and procedures to

ensure the proper and safe use of advertisement signs;

Ne 80:21 - BLOZ ‘6 | Aaquiadaq - sINOF ‘Ig JO Aud - pay Ayeou0.99/3
Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 7 of 11 PagelD #: 39

k) Creating a dangerous and hazardous condition on the premises or contributing

1)

to the creation of a dangerous and hazardous condition on the premises; and
Other breaches and acts of negligence learned through the course of

discovery.

19. The defective condition on target’s premises was not known to Caroline, and did

not constitute an open and obvious condition because Caroline could not see upon casual

inspection that the sign was not secured to the box as she examined the box.

20. Asa direct and proximate result of target’s breach of the above duties, Caroline

suffered painful severe permanent physical and emotional injuries, including but not limited to:

a)
b)
c)
d)
€)
f)
8)
h)

i)

Injuries to her foot, toe and nail

Physical pain and suffering;

Mental anguish;

Fright and shock;

Denial of social pleasure and enjoyment;

Embarrassment, humiliation and/or mortification;

Past and future medical treatment expenses and/or wage loss;
Disability relating to the above injuries; and

All other damages learned through the course of discovery.

21. Asa direct and proximate result of Target’s aforementioned negligence, Caroline

has been required to undergo reasonable and necessary medical and therapeutic care and is likely

to undergo additional care and treatment in the future.

Wd 80:21 - 640d ‘61 Jaquiesag - sino7 ‘1g 10 Aud - pall Alpesjuonoa|y
Case: 4:20-cv-00120-SPM Doc.#: 7 Filed: 01/25/20 Page: 8 of 11 PagelD #: 40

WHEREFORE, Caroline Vemulapalli respectfully requests judgment and damages in her
favor in count II of her petition against Target Corporation in an amount in excess of $75,000,
exclusive of costs, interest and attorney fees so wrongfully incurred.

COUNT III - RESIPSA LOQUITUR

22. Caroline restates the allegations contained in paragraphs 1 through 20 above as if
fully set forth herein.

23. In the alternative to count II, Target was negligent under the principle of Res Ipsa
Loquitur in that Caroline was damaged as a result of an improperly placed sien on a merchandise
box in Hampton Target.

24. + At all times relevant, Target owned, possessed, maintained and controlled or
otherwise exercised possession and control over the sign that caused Caroline’s incident.

25. Atall times relevant, Target owed certain duties to the general public, its invitees,
and in particular to Caroline, to keep and maintain its premises in a reasonably safe manner.

26. The acts and omissions which led to Caroline’s damages are attributable to but are
not limited to:

a) Negligent placement of merchandise on walk ways between display shelves;

b) Negligent placement of signs on merchandise;

c) Negligent failure to inspect the effective placement of merchandise in the
walk ways of the premises;

d) Negligent failure to ensure that advertisement signs were at all times posted
correctly to make sure that they do not pose as a hazard or cause injuries to

invitees shopping at the premises;

Wd 80:21 - 6LOZ ‘6b Jequiasaq - sINO7 ‘1S Jo Aug - pally Aypeauo.ysa}y
Case: 4:20-cv-00120-SPM Doc. #: 7 Filed: 01/25/20 Page: 9 of 11 PagelD #: 41

8)

h)

I)

k)

y)

Negligent failure to warn or otherwise caution invitees as to the defective
condition by failing to place warning signs that the advertisement sign on the
box was not being used in the manner it was designed to be used, or otherwise
was not secured upon display;

Negligent failure to respond to and/or act to eliminate the defective and
hazardous condition, having active and/or constructive knowledge of the
defective and/or hazardous condition;

Negligent failure to supervise the placement of items in the passage ways of
the premises to ensure that its condition was safe for use by its invitees and
the public;

Negligent failure to regularly inspect the premises for dangerous and
hazardous conditions, including but not limited to placement of merchandise
and loose signs thereupon on passage ways in the premises,

Negligent failure to properly train, supervise, manage, and/or instruct its
employees, agents and representatives to inspect and correct defective
conditions on the premises;

Negligent failure to create, implement/or enforce policies and procedures to
ensure the proper and safe use of advertisement signs;

Creating a dangerous and hazardous condition on the premises or contributing
to the creation of a dangerous and hazardous condition on the premises; and
Other breaches and acts of negligence learned through the course of

discovery.

Nd BO:ZL - GLO’ ‘BL fequiesag - sinoq “1S Jo Aug - payl4 Aypeouosss]s
Case: 4:20-cv-00120-SPM Doc.#: 7 Filed: 01/25/20 Page: 10 of 11 PagelD #: 42

27. The acts or omissions were caused by instrumentalities under the control of
Target; and

28. Target had superior knowledge or means of information as to the causes of the
conditions described herein.

29. As a direct and proximate result of Target’s failure to correct the defective
condition, Caroline suffered severe, permanent, painful and disabling injuries, including but not
limited to:

a) Injuries to her foot, toe and nail;

b) Physical pain and suffering;

c) Mental anguish;

d) Fright and shock;

e) Denial of social pleasure and enjoyment;

f) Embarrassment, humiliation and/or mortification;

g) Past and future medical treatment expenses and/or wage loss;
h) Disability relating to the above injuries; and

i) All other damages learned through the course of discovery.

30. Asadirect and proximate result of Target’s aforementioned negligence, Caroline
has been required to undergo reasonable and necessary medical and therapeutic care and is likely
to undergo additional care and treatment in the future.

WHEREFORE, Caroline Vemulapalli respectfully requests judgment and damages in her
favor in Count III of her Petition against Target Corporation in an amount in excess of $75,000,

exclusive of costs, interest and attorney fees so wrongfully incurred.

10

- BLO? ‘GL JaquIacsg - SING7 ‘1s Jo Allg - payig Ayeouonse/y

Wd 80:c1
Case: 4:20-cv-00120-SPM Doc.#: 7 Filed: 01/25/20 Page: 11 of 11 PagelD #: 43

Dated: December 19, 2019

By:

Respectfully submitted,
NDONWI LAW LLC,

Is/ Matthew Ndonwi
MATTHEW NDONWI (70273)
NDONWI LAW LLC

Attorney for Plaintiff

4021 Laclede Ave #56578

Saint Louis, MO 63156

(314) 762-0110
mndonwi@ndonwilaw.com

1]

Nd 80:21 - BLOZ ‘6k Jequiedaq - siNo7 ‘1g Jo Ald - paylg Aypeouonoa!y
